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                   EXHIBIT F




ME1 9768624v.1
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          LNR
          Partners, LLC
Via Overnight Mail and Electronic Mail

June 23, 2020

160 PALISADE REALTY PARTNERS, LLC
531 Central Park Avenue, Suite 301
Scarsdale, NY 10583

Attention: Ruben Guerrero

Re:      Notice of Default: Loan ("Loan") made to 160 PALISADE REALTY
         PARTNERS, LLC ("Borrower"), evidenced by a note in the original principal
         amount of $ 1,080,000.00, dated ("Note"), now held by U.S. Bank National
         Association, as trustee for the registered Holders of J.P. Morgan Chase
         Commercial Mortgage Securities Corp., Multifamily Mortgage Pass-Through
         Certificates, Series 2017-SB42 ("Lender") and specially serviced by LNR
         Partners, LLC ("Special Servicer"), and secured by a mortgage or deed of trust
         ("Mortgage") of property known as 160 Palisade, located at 160 Palisade Avenue,
         Yonkers, NY 10701 ("Property"), and certain other documents (collectively,
         "Loan Documents")
         Loan No.:

Dear Borrower:

As the Special Servicer of the above referenced Loan, we are empowered to act on behalf
of Lender in connection with the Loan.

This letter shall serve as notice that Borrower is in default under the Note and other Loan
Documents by virtue of, among other things, its failure to pay all amounts when due
thereunder. The aggregate amount due and payable by Borrower under the Loan
Documents will be calculated for you upon request made to the undersigned at LNR
Partners, 1601 Washington Avenue, Suite 700, Miami Beach, FL 33139 (Fax - 305-695-
5601). Lender will take all such actions as it deems appropriate to protect its interest in
the Loan and to collect the debt thereunder, including, without limitation, seeking
foreclosure and/or reconveyance of its security under the Loan Documents without
further notice or demand except as required pursuant to state law and the Loan
Documents. In the event any such actions are taken, Lender will also seek to recover its
additional costs and expenses, including attorney's fees and court costs, incurred in any
collection efforts.

Further, in the event Borrower makes any subsequent payment of any amount less than
all of the indebtedness due under the Loan ("Partial Payment"), Lender will apply such
Partial Payment to the indebtedness owing under the Loan Documents as a partial
payment. No such Partial Payment or the acceptance thereof by Lender shall constitute

                 1601 Washington Avenue ! Suite 700 ! Miami Beach, Florida 33139
                         Telephone: (305) 695-5600 ! Fax: (305) 695-5601
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ATTENTION TO ANY DEBTOR IN BANKRUPTCY OR ANY DEBTOR WHO
HAS RECEIVED A DISCHARGE IN BANKRUPTCY OR WHO MAY HAVE
PAID OR SETTLED, OR OTHERWISE NOT BE OBLIGATED UNDER, THE
LOAN: Please be advised that this letter constitutes neither a demand for payment
of the Loan nor a notice of personal liability to nor action against any recipient
hereof who might have received a discharge of the Loan in accordance with
applicable bankruptcy laws or who might be subject to the automatic stay of Section
362 of the United States Bankruptcy Code, or who has paid or settled or is otherwise
not obligated by law for the Loan.




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